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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                          




  Maria Santos, et al.,

                          Plaintiffs,                                            20-cv-8012 (AJN)

                 –v–                                                                  ORDER

  United States of America,

                          Defendant.


ALISON J. NATHAN, District Judge:

       As discussed at today’s post-discovery conference, the parties are ORDERED to submit a

joint status letter on or before January 14, 2021. The letter should indicate whether or not the

parties seek a referral to the Magistrate Judge or mediation program for settlement discussions

and whether or not a motion for summary judgment is forthcoming. If a motion for summary

judgment is not forthcoming, the parties should propose trial dates, bearing in mind that the

Court is unavailable for trial until August 2022. The parties may also indicate whether they

consent to proceeding before the Magistrate Judge for all purposes as the Magistrate Judge may

likely be able to try the case sooner than the Court.


       SO ORDERED.


Dated: October 22, 2021


                                                        __________________________________

                                                              ALISON J. NATHAN
                                                              United States District Judge
                                                              New York, New York
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